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     WOMBLE BOND DICKINSON (US) LLP
1    TOMIO B. NARITA (SBN 156576)
     Tomio.Narita@wbd-us.com
2    JEFFREY A. TOPOR (SBN 195545)
     Jeff.Topor@wbd-us.com
3
     R. TRAVIS CAMPBELL (SBN 271580)
4    Travis.Campbell@wbd-us.com
     SAMUEL R. MELAMED (SBN 301303)
5    Samuel.Melamed@wbd-us.com
     MICHELLE F. CATAPANG (SBN 308038)
6    Michelle.Catapang@wbd-us.com
     50 California Street, Suite 2750
7    San Francisco, CA 94111
     Telephone: (415) 433-1900
8    Facsimile: (415) 433-5530
9    BRANN & ISAACSON
     DAVID W. BERTONI (admitted pro hac vice)
10   dbertoni@brannlaw.com
     113 Lisbon Street
11   Lewiston, ME 04243-3070
     Telephone: (207) 786-9325
12
     Facsimile: (207) 783-9325
13
     Attorneys for Defendant
14   ADDSHOPPERS, INC.
15

16                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                     SAN FRANCISCO DIVISION
18

19   ABBY LINEBERRY and MIGUEL                    CASE NO.: 3:23-cv-01996-VC
     CORDERO, individually and on behalf of all
20                                                [PROPOSED] ORDER RE:
     others similarly situated,
                                                  ADDSHOPPERS, INC.’S RESPONSE TO
21
                    Plaintiffs,                   PLAINTIFFS’ ADMINISTRATIVE
22
                                                  MOTIONS TO CONSIDER WHETHER
                                                  ANOTHER PARTY’S MATERIAL
            vs.                                   SHOULD BE SEALED [DKT NOS. 148,
23
                                                  179, 209]
24   ADDSHOPPERS, INC. and PEET’S COFFEE,
     INC.,
25
                  Defendants.
26

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     LINEBERRY, ET AL. V. ADDSHOPPERS, INC., ET AL. (3:23-CV-01996-VC)
     [PROPOSED] ORDER RE: ADDSHOPPERS’ RESPONSE TO PLAINTIFFS’ ADMINISTRATIVE MOTIONS
     TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
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1           The Court, having reviewed Plaintiffs’ Administrative Motions to Consider Whether
2    Another Party’s Material Should Be Sealed (Dkt. Nos. 148, 179, 209) and Defendant
3    AddShoppers, Inc.’s (“AddShoppers”) responses thereto, and finding good cause, ORDERS as
4    follows:
5           1.      AddShoppers’ request to redact the pricing terms in Exhibit 13 (Dkt. No. 148-11,
6    at AS_00508) and Exhibit 16 (Dkt. No. 148-14, at PEETS_000170, 000175, and 000179) to the
7    Youngentob Declaration in support of Plaintiffs’ Motion for Class Certification is granted.
8           2.      AddShoppers is ordered to file redacted versions of these filings within 14 days of
9    the date of this Order.
10          3.      AddShoppers’ request that the uncited portions of deposition transcripts that were
11   attached to the Youngentob Declarations in support of Plaintiffs’ Motion for Class Certification
12   and Reply (Dkt. Nos. 148-3, 148-4, 148-5, 148-9, 148-12, 148-13, and 179-6) remain
13   provisionally under seal is granted.
14          4.      AddShoppers is ordered to prepare and file these deposition transcripts with only
15   the cited testimony within 14 days of the date of this Order.
16          5.      AddShoppers’ request that the uncited interrogatory responses filed with
17   Plaintiffs’ Supplemental Brief on Order re Motion for Class Certification (Dkt. No. 209-3)
18   remain provisionally under seal is granted.
19          6.      AddShoppers is ordered to prepare and file the interrogatory responses with the
20   uncited responses redacted within 14 days of the date of this Order.
21          ALTERNATIVELY,
22          1.      AddShoppers’ request that the uncited portions of deposition transcripts that were
23   attached to the Youngentob Declarations in support of Plaintiffs’ Motion for Class Certification
24   (Doc. Nos. 148-3, 148-4, 148-5, 148-9, 148-12, 148-13, and 179-6) remain provisionally under
25   seal is denied without prejudice.
26          2.      AddShoppers may, within 14 days of the date of this Order, file another response
27   to Plaintiffs’ Administrative Motions to identify testimony in the uncited portions of the
28   deposition transcripts that they argue should be redacted.
            3.      The deposition transcripts shall remain under seal until further Order of the Court.
     LINEBERRY, ET AL. V. ADDSHOPPERS, INC., ET AL. (3:23-CV-01996-VC)
     [PROPOSED] ORDER RE: ADDSHOPPERS’ RESPONSE TO PLAINTIFFS’ ADMINISTRATIVE MOTIONS
     TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
          Case 3:23-cv-01996-VC     Document 212-1     Filed 04/25/25     Page 3 of 3




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2          SO ORDERED.
3    Dated: ________________________
                                                 Hon. Vince Chhabria
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                                                 United States District Judge
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     LINEBERRY, ET AL. V. ADDSHOPPERS, INC., ET AL. (3:23-CV-01996-VC)
     [PROPOSED] ORDER RE: ADDSHOPPERS’ RESPONSE TO PLAINTIFFS’ ADMINISTRATIVE MOTIONS
     TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
